Case 1:09-cv-01007-LPS Document 271 Filed 07/17/15 Page 1 of 4 PageID #: 3464



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

VEHICLE IP, LLC,                                       )
                                                       )
                       Plaintiff,                      )
                                                       )      C.A. No. 09-1007-LPS
         v.                                            )
                                                       )
AT&T MOBILITY LLC,                                     )
CELLCO PARTNERSHIP,                                    )
NETWORKS IN MOTION, INC.,                              )
TELECOMMUNICATION SYSTEMS, INC., and                   )
TELENAV, INC.,                                         )
                                                       )
                       Defendants.                     )

                 MOTION AND ORDER FOR ADMISSION PRO HAC VICE

         Pursuant to Local Rule 83.5 and the attached certifications, counsel moves the admission

pro hac vice of Edward A. Pennington and Siddhesh Vishnu Pandit to represent defendants

TeleCommunication Systems, Inc., Networks In Motion, Inc., and Cellco Partnership in this

matter. Pursuant to this Court’s Standing Order effective March 25, 2014, the fees for the above-

listed attorneys will be submitted upon the filing of this motion.

                                              ASHBY & GEDDES

                                              /s/ John G. Day
                                              ______________________________
                                              John G. Day (No. 2403)
                                              Tiffany Geyer Lydon (No. 3950)
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                                              Attorneys for Defendants
                                              TeleCommunication Systems, Inc.,
Dated: July 17, 2015                          Networks In Motion, Inc., and Cellco Partnership


{01026191;v1 }
Case 1:09-cv-01007-LPS Document 271 Filed 07/17/15 Page 2 of 4 PageID #: 3465



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

VEHICLE IP, LLC,                                     )
                                                     )
                       Plaintiff,                    )
                                                     )     C.A. No. 09-1007-LPS
         v.                                          )
                                                     )
AT&T MOBILITY LLC,                                   )
CELLCO PARTNERSHIP,                                  )
NETWORKS IN MOTION, INC.,                            )
TELECOMMUNICATION SYSTEMS, INC., and                 )
TELENAV, INC.,                                       )
                                                     )
                       Defendants.                   )


                                            ORDER

         This ______ day of __________, 2015, the Court having considered the motion for the

admission pro hac vice of Edward A. Pennington and Siddhesh Vishnu Pandit to represent

defendants TeleCommunication Systems, Inc., Networks In Motion, Inc., and Cellco Partnership

in the above action; now therefore,

         IT IS HEREBY ORDERED that counsel’s motion is granted, and that the foregoing

attorneys are admitted pro hac vice.

                                                   __________________________________
                                                    United States District Judge




{01026191;v1 }
Case 1:09-cv-01007-LPS Document 271 Filed 07/17/15 Page 3 of 4 PageID #: 3466



            CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, that I

am admitted, practicing, and in good standing as a member of the Bar of the District of

Columbia, Bar of the Commonwealth of Virginia, and is registered (Reg. No. 32,588) to practice

before the United States Patent and Trademark Office, and, pursuant to Local Rule 83.6, that I

submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in

the preparation or course of this action. I also certify that I am generally familiar with this

Court’s Local Rules.



                                                        /s/ Edward A. Pennington
                                                        _____________________________
                                                        Edward A. Pennington
                                                        Smith Gambrell & Russell, LLP
                                                        1055 Thomas Jefferson Street, NW
                                                        Suite 400
                                                        Washington, DC 20007
                                                        (202) 263-4300


Dated: July 17, 2015




{01026191;v1 }
Case 1:09-cv-01007-LPS Document 271 Filed 07/17/15 Page 4 of 4 PageID #: 3467



            CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, that I

am admitted, practicing, and in good standing as a member of the Bar of the Commonwealth of

Virginia, and is registered (Reg. No. 57,588) to practice before the United States Patent and

Trademark Office and, pursuant to Local Rule 83.6, that I submit to the disciplinary jurisdiction

of this Court for any alleged misconduct which occurs in the preparation or course of this action.

I also certify that I am generally familiar with this Court’s Local Rules.



                                                        /s/ Siddhesh Vishnu Pandit
                                                        _____________________________
                                                        Siddhesh Vishnu Pandit
                                                        Smith Gambrell & Russell, LLP
                                                        1055 Thomas Jefferson Street, NW
                                                        Suite 400
                                                        Washington, D.C. 20007
                                                        (202) 263-4301


Dated: July 17, 2015




{01026191;v1 }
